           Case 1:19-vv-00860-UNJ Document 39 Filed 02/03/22 Page 1 of 7




         In the United States Court of Federal Claims
                                  OFFICE OF SPECIAL MASTERS
                                          No. 19-0860V
                                         UNPUBLISHED


    RALPH L. LAMACCHIA,                                        Chief Special Master Corcoran

                         Petitioner,
    v.                                                         Filed: January 4, 2022

    SECRETARY OF HEALTH AND                                    Special Processing Unit (SPU); Joint
    HUMAN SERVICES,                                            Stipulation on Damages; Influenza
                                                               (Flu); Shoulder Injury Related to
                        Respondent.                            Vaccine Administration (SIRVA).


Scott B. Taylor, Urban & Taylor, S.C., Milwaukee, WI, for Petitioner.

Lynn Christina Schlie, U.S. Department of Justice, Washington, DC, for Respondent.

                               DECISION ON JOINT STIPULATION1

      On June 12, 2019, Ralph L. LaMacchia filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.2 (the
“Vaccine Act”). Petitioner alleges that he suffered a shoulder injury related to vaccine
administration (“SIRVA”) causally related to his receipt of an influenza (“flu”) vaccine on
October 3, 2016. Petition at 1.

        On December 28, 2021, the parties filed the attached joint stipulation, which states
that a decision should be entered awarding compensation. ECF No. 34. I find the
stipulation reasonable and adopt it as my decision awarding damages, on the terms set
forth therein.



1 Because this unpublished opinion contains a reasoned explanation for the action in this case, I am
required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic
Government Services). This means the opinion will be available to anyone with access to the internet.
In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact medical or
other information, the disclosure of which would constitute an unwarranted invasion of privacy. If, upon
review, I agree that the identified material fits within this definition, I will redact such material from public
access.

2National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all section references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
          Case 1:19-vv-00860-UNJ Document 39 Filed 02/03/22 Page 2 of 7




     Pursuant to the terms stated in the attached Stipulation, I award the following
compensation:

            •   A lump sum of $62,254.99 in the form of a check payable to Petitioner.
                This amount represents compensation for all items of damages that
                would be available under Section 15(a). Stipulation at ¶ 8.

       I approve the requested amount for Petitioner’s compensation. In the absence of
a motion for review filed pursuant to RCFC Appendix B, the Clerk of the Court is directed
to enter judgment in accordance with this decision.3

        IT IS SO ORDERED.
                                                                 s/Brian H. Corcoran
                                                                 Brian H. Corcoran
                                                                       Chief Special Master




3
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.

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      Case 1:19-vv-00860-UNJ Document 39 Filed 02/03/22 Page 3 of 7




                 IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                           OFFICE OF SPECIAL MASTERS

                                                )
RALPH LAMACCHIA,                                )
                                                )
        Petitioner,                             )         No. 19-860V
                                                )         Chief Special Master Corcoran
        V.                                      )
                                                )
SECRETARY OF HEALTH AND                         )
HUMAN SERVICES,                                 )
                                                )
        Respondent.                             )


                                          STIPULATION

 The parties hereby stipulate to the following matters:

        I.   Petitioner, Ralph LaMacchia, filed a petition for vaccine compensation under the

National Vaccine Injury Compensation Program, 42 U.S.C. § 300aa-10 to 34 (the "Vaccine

Program") . The petition seeks compensation for injuries allegedly related to petitioner's

receipt of the influenz.a ("flu") vaccine, which vaccine is contained in the Vaccine Injury Table

(the "Table"), 42 C.F.R. § 100.3 (a).

       2.    Petitioner received the flu vaccine on October 3, 2016.

       3.    The vaccine was administered within the United States.

       4.    The petition alleges that petitioner sustained a Shoulder Injury Related to Vaccine

Administration ("SIRVA") as a result of receiving the flu vaccine, and that petitioner

experienced the residual effects of this injury for more than six months.

       5.    Petitioner represents that there has been no prior award or settlement of a civil

action for damages arising out of the alleged vaccine injury.

       6.    Respondent denies that petitioner sustained a SIRVA Table injury following the flu
                                                    -1-
       Case 1:19-vv-00860-UNJ Document 39 Filed 02/03/22 Page 4 of 7




vaccination, and further denies that the flu vaccine caused petitioner to suffer a shoulder injury

or any other injury or petitioner's current condition.

        7.   Maintaining their above-stated positions, the parties nevertheless now agree that the

issues between them shall be settled and that a decision should be entered awarding the

compensation described in paragraph 8 of this Stipulation.

        8. As soon as practicable after an entry of judgment reflecting a decision consistent

with the terms of this Stipulation, and after petitioner has filed an election to receive

compensation pursuant to 42 U.S.C. § 300aa-2l(a)(I), the Secretary of Health and Human

Services will issue the following vaccine compensation payment:

         A lump sum of $62,254.99 in the form of a check payable to petitioner. This
         amount represents compensation for all damages that would be available under 42
         U.S.C. § 300aa-15(a).

        9. As soon as practicable after the entry of judgment on entitlement in this case, and

after petitioner has filed both a proper and timely election to receive compensation pursuant to

42 U.S.C. § 300aa-21(a)(l), and an application, the parties will submit to further proceedings

before the special master to award reasonable attorneys' fees and costs incurred in any

proceeding upon this petition.

        10. Petitioner and petitioner's attorney represent that compensation to be provided

pursuant to this Stipulation is not for any items or services for which the Program is not

primarily liable under 42 U .S.C. § 300aa-l 5(g), to the extent that payment has been made or

can reasonably be expected to be made under any State compensation programs, insurance

policies, Federal or State health benefits programs (other than Title XIX of the Social Security

Act (42 U.S.C. § 1396 et seq.)), or by entities that provide health services on a pre-paid basis,

and represent that they have identified to respondent all known sources of payment for items or
                                                  -2-
       Case 1:19-vv-00860-UNJ Document 39 Filed 02/03/22 Page 5 of 7




services for which the Program is not primarily liable under 42 U.S.C. § 300aa-15(g).

            l l. Payment made pursuant to paragraph 8 and any amounts awarded pursuant to

paragraph 9 of this Stipulation will be made in accordance with 42 U.S.C. § 300aa-l5(Q,

subject to the availability of sufficient statutory funds.

            12. The parties and their attorneys further agree and stipulate that, except for any

award for attorneys' fees and litigation costs, and past unreimbursable expenses, the money

provided pursuant to this Stipulation will be used solely for the benefit of petitioner as

contemplated by a strict construction of 42 U.S.C. § 300aa-15(a) and (d), and subject to the

conditions of42 U.S.C.§ 300aa-15(g) and(h).

            13. In return for the payments described in paragraphs 8 and 9, petitioner, in

petitioner's individual capacity, and on behalf of petitioner's heirs, executors, administrators,

successors or assigns, does forever irrevocably and unconditionally release, acquit and

discharge the United States and the Secretary of I lealth and Human Services from any and all

actions or causes of action (including agreements, judgments, claims, damages, loss of

services, expenses and all demands of whatever kind or nature) that have been brought, could

have been brought, or could be timely brought in the United States Court of Federal Claims,

under the National Vaccine Injury Compensation Program, 42 U.S.C. § 300aa-10 et seq., on

account of, or in any way growing out of, any and all known or unknown, suspected or

unsuspected personal injuries to or death of petitioner resulting from, or alleged to have

resulted from, the vaccination as alleged by petitioner in a petition for vaccine compensation

filed on or about June 12, 2019, in the United States Court of Federal Claims as petition No.

19-860V.

           14. If petitioner should die prior to entry of judgment, this agreement shall be
                                                   -3-
         Case 1:19-vv-00860-UNJ Document 39 Filed 02/03/22 Page 6 of 7




voidable upon proper notice to the Court on behalf of either or both of the parties.

           15. If the special master fails to issue a decision in complete conformity with the

terms of this Stipulation or if the United States Court of Federal Claims fails to enter judgment

in conformity with a decision that is in complete conformity with the terms of this Stipulation,

then the parties' settlement and this Stipulation shall be voidable at the sole discretion of either

party.

          16. This Stipulation expresses a full and complete negotiated settlement of liability

and damages claimed under the National Childhood Vaccine Injury Act of 1986, as amended,

except as otherwise noted in paragraph 9 above. There is absolutely no agreement on the part

of the parties hereto to make any payment or to do any act or thing other than is herein

expressly stated and clearly agreed to. The parties further agree and understand that the award

described in this Stipulation may reflect a compromise of the parties' respective positions as to

liability and/or amount of damages, and further, that a change in the nature of the injury or

condition or in the items of compensation sought, is not grounds to modify or revise this

agreement.

          17. This Stipulation shall not be construed as an admission by the United States or the

Secretary of Health and Human Services that the flu vaccine caused petitioner's alleged injury

or any other injury or petitioner's current condition.

          18. A II rights and obligations of petitioner hereunder shall apply equally to

petitioner's heirs, executors, administrators, successors, and/or assigns.

                                    END OF STIPULATION




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       Case 1:19-vv-00860-UNJ Document 39 Filed 02/03/22 Page 7 of 7




  Respectfully submitted,




  ATTORNEY OF RECORD                              AUTHORIZED REPRESENTATIVE
  FOR PETITI~~n                                   OF THE ATTORNEY GENERAL:


                                                 .HEATHER
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                                                          PEARLMAN
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  AUTHORIZED REPRESENTATIVE                       ATTORNEY OF RECORD FOR
  OF THE SECRET ARY OF HEALTH                     RESPONDENT:



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  AND HUMAN SERVICES:
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  TAMARA OVERBY                             {)    LYNNC. SCHUE
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  Dated:   I 2'/£1/Znd

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